           Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.1 Page 1 of 10
AO I 06 (Rev 06/09) Application for a Search Warrant




              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                 )
          or identify the person by name and address}                               Case No.
                                                                       )
                        Black IPhone X                                  )
                   Seized from Lewis ADAM                               )
                                                                        )
                                                                                                    18MJ1610
                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

   See Attachment A-1, which is incorporated by reference.
located in the              Southern               District of              California          , there is now concealed (identijj; the
person or describe the property to be sei::.ed):
   See Attachment B-1, which is incorporated by reference.


           The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                 r/ evidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
            Code Section                                                            Offense Description
        21 U.S.C. §§ 841 and 846                    Distribution of federally controlled substances and conspiracy to do the same



          The application is based on these facts:
         See Affiaavit of HSI Special Agent Anthony Lyons, which is hereby incorporated by reference and made part
         hereof.

            ~ Continued on the attached sheet.
            O Delayed notice of~-- days (give exact ending date if more than 30 days: _______ )is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                            __________ An_thony  Lyon~_§_I Special Agent
                                                                                                Printed name and title

 Sworn to before me and signed in my presence.


 nm. _       -W-re/fk-_                                                                           Judge ·s signature

 City and state: San Diego, CA                                              ______ Ho~_ Wil~.!:l'l_y· Gallo, Magistrate Judge
                                                                                                Printed name and title
         Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.2 Page 2 of 10



 1                                        AFFIDAVIT
 2          I, Anthony Lyons, being duly sworn, hereby state as follows:
 3                                     INTRODUCTION
 4          1.    This affidavit supports an application for a warrant to search the following
 5 electronic devices (collectively Target Devices):
 6
                  a.    Black !Phone X 1 seized from Lewis ADAM
 7                      (Target Device 1);
 8
                  b.    Silver Samsung Galaxy
 9                      DEC#: 089168896906845764
                        (Target Device 2)
10
11
     as described in Attachments A-1 and A-2, and seize evidence of crimes, specifically,
12
     violations of Title 21, United States Code, Sections 841 and 846. This search supports
13 an investigation of Lewis ADAM for the crimes mentioned above.                  A factual
14 explanation supporting probable cause follows.
15          2.    The Target Devices were seized on March 7, 2018 at the U.S. Border
16   Patrol Station located at 25762 Madison Ave, Murrieta, CA, 92562 pursuant to a
17   seizure of approximately 23 .85 KG of marijuana. The Target Devices are presently
18   stored at HSI Seized Property Custodian at 880 Front Street, San Diego, CA, 92101.
19          3.    Based on the information below, there is probable cause to believe that a
20   search of the Target Devices will produce evidence of the aforementioned crimes, as
21   described in Attachments B-1 and B-2.
22          4.    The information contained in this affidavit is based upon my experience
23   and training, consultation with other federal, state, and local law enforcement agents.
24   The evidence and information contained herein was developed from interviews and my
25   review of documents and evidence related to this case. Because this affidavit is made
26
     1
27  No additional identifying markers on this device are known. Based upon my
   conversations with law enforcement personnel regarding this particular make and
28 model device, law enforcement cannot learn additional unique identifying information
   without engaging in a search of the device.
                                                1
         Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.3 Page 3 of 10



 1   for the limited purpose of obtaining a search warrant for the Target Devices, it does
 2   not contain all of the information known by me or other federal agents regarding this
 3   investigation, but only contains those facts believed to be necessary to establish
 4   probable cause. 2
 5                             EXPERIENCE AND TRAINING
 6          5.    I am a Special Agent for the Homeland Security Investigations (HSI) San
 7 Diego. I have been employed with the Department of Homeland Security for almost 12
 8 years, 7 of those as a Special Agent with HSI and 4 of those as an Officer with Customs
 9 and Border Protection. I have been previously trained at the Federal Law Enforcement
I 0 Training Center (FLETC) in Glynco, Georgia and have over a decade of experience
11 related to narcotics investigations and interdiction.
12          6.    As HSI San Diego requires all of its Special Agents to participate in
13 narcotics investigations related to the U.S. and Mexico International Border. I have
14 participated in dozens of narcotics investigations involving coconspirators who used
15 cellular/mobile telephones to further their trafficking activities.     I have personally
16 reviewed forensic searches of cellular/mobile telephones stemming from those
I 7 investigations, and I am familiar with the way narcotics trafficking coconspirators
18 converse, text, or otherwise chat with one another about their trafficking activities. I
19 am also familiar with coded conversation used by traffickers to conceal their activities
20 from law enforcement investigation.
21          7.    Based upon my training and expenence as a Special Agent, and
22 consultations with law enforcement officers experienced in narcotics trafficking
23   investigations, and all the facts and opinions set forth in this affidavit, I submit the
24
     following:
25
26          a.    Drug traffickers will use cellular/mobile telephones because they are mobile

27   2
    U.S. Border Patrol Agents at the checkpoint attempted a manual review of the
28 phones at the time of arrest. However, none of the information reviewed from those
   searches are relied upon or provided in support of this search warrant application.
                                                2
       Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.4 Page 4 of 10



 1
                 and they have instant access to telephone calls, text, web, and vmce
                 messages.
 2
 3
           b.    Drug traffickers will use cellular/mobile telephones because they are able to
                 actively monitor the progress of their illegal cargo while the conveyance is
 4               in transit.
 5
           c.    Drug traffickers and their accomplices will use cellular/mobile telephones
 6               because they can easily arrange and/or determine what time their illegal
 7               cargo will arrive at predetermined locations.

 8         d.    Drug traffickers will use cellular/mobile telephones to direct drivers to
 9               synchronize an exact drop off and/or pick up time of their illegal cargo.

10         e.    Drug traffickers will use cellular/mobile telephones to notify or warn their
11               accomplices of law enforcement activity to include the presence and posture
                 of marked and unmarked units, as well as the operational status of
12               checkpoints and border crossings.
13
           f.    Drug traffickers and their co-conspirators often use cellular/mobile
14               telephones to communicate with load drivers who transport their narcotics
15               and/or drug proceeds.

16         g.    The use of cellular telephones by conspirators or drug traffickers tends to
17               generate evidence that is stored on the cellular telephones, including, but not
                 limited to emails, text messages, photographs, audio files, videos, call logs,
18               address book entries, IP addresses, social network data, and location data.
19         8.    Based upon my training and experience as a Special Agent, and
20
     consultations with law enforcement officers experienced in narcotics trafficking
21
     investigations, and all the facts and opinions set forth in this affidavit, I know that
22
     cellular/mobile telephones can and often do contain electronic records, phone logs and
23
     contacts, voice and text communications, and data such as emails, text messages, chats
24
     and chat logs from various third-party applications, photographs, audio files, videos,
25
26 and location data. This information can be stored within disks, memory cards, deleted
27 data, remnant data, slack space, and temporary or permanent files contained on or in
28 the cellular/mobile telephone. Specifically, I know based upon my training, education,

                                                 3
       Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.5 Page 5 of 10




 1 and experience investigating these consp1rac1es that searches of cellular/mobile
 2 telephones yields evidence:
 3
           a.     tending to indicate efforts to possess and/or transport with the intent to
 4                distribute marijuana, or some other federally controlled substances within
 5                the United States;

 6         b.     tending to identify accounts, facilities, storage devices, and/or services-
 7                such as email addresses, IP addresses, and phone numbers-used to
                  facilitate the possession of and/or transportation with the intent to
 8                distribute marijuana, or some other federally controlled substances within
 9                the United States;

10         c.     tending to identify co-conspirators, criminal associates, or others involved
11                in possession of and/or transportation with the intent to distribute
                  marijuana, or some other federally controlled substances within the United
12                States;
13
           d.     tending to identify travel to or presence at locations involved in the
14                possession of and/or transportation with the intent to distribute marijuana,
15                or some other federally controlled substances within the United States,
                  such as stash houses, load houses, or delivery points;
16
17         e.     tending to identify the user of, or persons with control over or access to,
                  the Target Devices; and/or
18
19         f.     tending to place in context, identify the creator or recipient of, or establish
                  the time of creation or receipt of communications, records, or data involved
20                in the activities described above.
21
                        FACTS SUPPORTING PROBABLE CAUSE
22
           9.     I am currently investigating ADAM and others for the unlawful
23
     importation, exportation, transportation, and possession with intent to distribute
24
     federally controlled substances. Through my investigation, I have identified ADAM as
25
     being a member of a conspiracy responsible for the distribution of marijuana within the
26
     United States, as well as the exportation of other federally controlled substances to
27
     places outsider thereof.
28

                                                  4
       Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.6 Page 6 of 10



 1         10.    On March 7, 2018, United States Border Patrol Agents assigned to the
 2 Murrieta Border Patrol Station were conducting targeted enforcement and anti-
 3 smuggling operations within the Murrieta Border Patrol area of responsibility. Border
 4 Patrol Agents were operating in the area using a marked U.S. Border Patrol (BP)
 5 vehicle. At approximately 12:30 p.m., agents were observing the Interstate 15 ("I-15)
 6 northbound traffic near Deer Springs Road in Escondido, California while travelling in
 7 second lane from the right. This area of the 1-15 is south of the U.S. Border Patrol
 8 Checkpoint on the 1-15, and this is a common route for smugglers to use to transport
 9 contraband or illegal aliens further into the United States. While conducting their
10 roving patrol on the freeway, the agents noticed a black Toyota 4Runner ("the vehicle"),
11 travelling in the far right lane.   It approached their position, and then it maintained
12 approximately 65 miles per hour, which was 5 miles under the speed limit for this area.
13         11.    The agents found this odd because there were no vehicles impeding its
14 route of travel, and there were no road conditions that appeared to limit the vehicle's
15 ability to travel with the speed of traffic. The agents observed that vehicles travelling
16 in the other lanes were passing around both the agents' vehicle and the suspect vehicle.
17 The vehicle was travelling so slow that traffic stacked up behind the vehicle. The agents
18 knew from experience and training that individuals involved in criminal activity will
19 sometimes travel considerably slower to create distance from law enforcement. It was
20 not until the agents reduced their speed to approximately 55 miles per hour, 15 miles
21   under the speed limit, that the vehicle finally passed them. The agents decided to follow
22 the vehicle longer to investigate. As the agents followed the vehicle, they continued to
23 observe the driver.     The agents observed the driver exhibiting nervous behavior,
24 including making brief eye contact with the agents as they pulled up alongside the
25 vehicle and then attempting to avoid any further eye contact. The driver also would
26 change lanes when the agents attempted to travel behind the vehicle. The agents also
27 observed erratic driving, including the vehicle swerving back and forth within lanes.
28

                                                 5
       Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.7 Page 7 of 10



 1 Based upon their observations and their training, this behavior appeared consistent with
 2 a driver who was preoccupied with checking his/her rearview mirrors.
 3         12.   The vehicle exited the freeway near Rainbow, California, which is south
 4 of the Border Patrol Checkpoint. The agents followed the vehicle down the exit and
 5 observed the vehicle stop at the intersection. The agents observed that the driver did
 6 not appear to know what direction he wanted to go. Based upon all of their observations,
 7 training, and experience in patrolling this portion of the I-15, the agents believed the
 8 driver was engaged in smuggling activities. The agents conducted a vehicle stop.
 9         13.   As one of the agents approached the driver's side of the vehicle, he
10 immediately smelled the odor of marijuana coming from the vehicle.             The agent
11 observed two black trash bags sitting on the backseat of the vehicle. One of the trash
12 bags had a hole in it and the agent could see a green leafy substance he believed to be
13 manJuana.
14         14.   Agents called for a canine unit to screen the vehicle. The trained Narcotics
15 and Human detector Dog (N/HDD) conducted a canine sniff of the vehicle and alerted
16 to the presence of narcotics within the vehicle. Pursuant to a search of the vehicle and
17 the driver, later identified as Lewis ADAM, agents found a Black !Phone X on ADAM's
18 person and a Silver Samsung Galaxy in the rear cargo area storage compartment on the
19 driver's side of the vehicle next to some of the trash bags containing marijuana.
20         15.   At approximately 12:45 p.m., agents placed ADAM under arrest for
21 possession with intent to distribute narcotics. The agents, the driver, the vehicle, and
22 the narcotics were subsequently transported to the Murrieta Border Patrol Station for
23 further processing. Four trash bags were removed from the Toyota and were weighed
24 and tested. The sample field-tested positive for marijuana. The 4 trash bags had a total
25 combined weight of 23 .85 kg.
26         16.   Based upon my training, education, experience, and in consultation with
27 other law enforcement, I know that recent calls made and received, telephone numbers,
28 contact names, electronic mail (e-mail) addresses, appointment dates, text messages,

                                               6
       Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.8 Page 8 of 10



 1 pictures and other digital information are stored in the memory of the Target Devices
 2 which may identify other persons involved in narcotics trafficking activities.
 3 Accordingly, based upon my experience and training, consultation with other law
 4   enforcement officers experienced in narcotics trafficking investigations, and all the
 5 facts and opinions set forth in this affidavit, I believe that information relevant to the
 6 narcotics trafficking activities of Lewis ADAM, such as telephone numbers, made and
 7 received calls, contact names, electronic mail (e-mail) addresses, appointment dates,
 8 messages, pictures, audio files, videos and other digital information are stored in the
 9 memory of the Target Devices.
10         17.   Finally, drug trafficking consptrac1es reqmre intricate planning and
l l coordination. This often occurs days, weeks, or even months prior to the actual
12 transportation of narcotics to its intended destination. Coconspirators communicate

13 with one another in efforts to ensure success in getting their valuable cargo to its
14 destination within the United States. In this case, evidence supports probable cause that
15 Lewis ADAM began working with his drug trafficking coconspirators as early as
16 Tuesday, June 27, 2017. This is based upon a review of Toll Records, Reports from
17 other law enforcement agents, and other search warrants. Therefore, the date range for
l8 this search should be from June 27, 2017 up to and including March 7, 2018.
19
                                    METHODOLOGY
20
          18. It is not possible to determine, merely by knowing the cellular/mobile
21




28
       Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.9 Page 9 of 10



 1 reason, the device may only be powered in a secure environment or, if possible, started
 2 in "flight mode" which disables access to the network. Unlike typical computers, many
 3 cellular/mobile telephones do not have hard drives or hard drive equivalents and store
 4 information in volatile memory within the device or in memory cards inserted into the
 5 device. Current technology provides some solutions for acquiring some of the data
 6 stored in some cellular/mobile telephone models using forensic hardware and software.
 7 Even if some of the stored information on the device may be acquired forensically, not
 8 all of the data subject to seizure may be so acquired. For devices that are not subject to
 9 forensic data acquisition or that have potentially relevant data stored that is not subject
10 to such acquisition, the examiner must inspect the device manually and record the
11   process and the results using digital photography.     This process is time and labor
12 intensive and may take weeks or longer.
13         19.   Following the issuance of this warrant, I will collect the subject
14 cellular/mobile telephone and subject it to analysis. All forensic analysis of the data
15 contained within the telephone and its memory cards will employ search protocols
16 directed exclusively to the identification and extraction of data within the scope of this
17 warrant.
18         20.   Based on the foregoing, identifying and extracting data subject to seizure
19 pursuant to this warrant may require a range of data analysis techniques, including
20 manual review, and, consequently, may take weeks or months.                The personnel
21   conducting the identification and extraction of data will complete the analysis within
22 ninety (90) days, absent further application to this court.
23
                                        CONCLUSION
24
           21.   Based on all of the facts and circumstances described above, there is
25
     probable cause to conclude that Lewis ADAM used the Target Device(s) to facilitate
26
     violations of Title 21, United States Code, Sections 841 and 846.
27
           22.   Because the Target Devices were promptly seized during the investigation
28
     of Lewis ADAM's trafficking activities and have been securely stored, there is probable
                                                8
      Case 3:18-mj-01610-WVG Document 1 Filed 04/06/18 PageID.10 Page 10 of 10



 1 cause to believe that evidence of illegal activities committed by Lewis ADAM
 2 continues to exist on the Target Devices. As stated above, I believe that the date range
 3 for this search is from June 2 7, 201 7 up to and including March 7, 2018.
 4        23.    WHEREFORE, I request that the court issue a warrant authorizing law
 5 enforcement agents and/or other federal and state law enforcement officers to search
 6 the items described in Attachments A-1 and A-2, and the seizure of items listed in
 7 Attachment B-1 and B-2, using the methodology described above.
 8
 9 I swear the foregoing is true and correct to the best of my knowledge and belief.



                                           Anthony~
10
11
12
                                           Special Agent
13
14
   Subscribed and sworn to before me this
                                            4-        day of April, 2018.

15
16
17 The Honorable William V. Gallo
   United States Magistrate Judge
18
19

20
21
22
23
24
25
26
27
28

                                               9
